     Case 18-31632-MBK       Doc 30    Filed 04/17/19 Entered 04/17/19 15:24:28                  Desc Main
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